


THIS OPINION HAS NO PRECEDENTIAL VALUE



THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT
  BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE
  239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
        Rodell Harris, Respondent,
        v.
        William L. Harris, Appellant.
      
    
  


Appeal From Aiken County
&nbsp;Henry T. Woods, Family Court Judge

Unpublished Opinion No. 2007-UP-497 
  Submitted October 1, 2007  Filed October
  16, 2007

AFFIRMED IN PART; REVERSED IN PART; REMANDED


  
    
      
        Jeffrey Raymond Moorehead, of Aiken, for
          Appellant
        Gary Hudson Smith, III, of Aiken, for
          Respondent.
      
    
  

PER CURIAM: In
  this divorce action, William L. Harris
  (Husband) claims the family court erred in awarding alimony, equitably dividing
  the marital estate, and awarding attorneys fees to his former wife, Rodell
  Harris (Wife).&nbsp; We affirm in part, reverse in part, and remand.[1]
FACTS AND PROCEDURAL HISTORY
The
  parties were married on March 19, 1982, and separated approximately twenty-one
  years later on October 30, 2003. &nbsp;At the time of the final hearing Husband was
  seventy-four and Wife was sixty-six. &nbsp;Both parties are retired. No children
  were born into the marriage. 
In
  November 2003, Wife commenced this action by filing a summons and complaint for
  pendente lite and permanent alimony, equitable division of the marital assets
  including the debts, and attorneys fees. Husband responded requesting an equitable
  division of marital assets and debts.&nbsp; Husband also requested attorneys fees,
  but later withdrew his request during the final hearing. Following a December
  2003 hearing the family court issued a temporary order granting Wife pendente
  lite alimony in the amount of $400 per month. 
At
  the final hearing on July 12, 2006, the family court heard testimony on the
  parties financial standings and a tax debt from 2003. &nbsp;Both parties
  also testified regarding their two houses, the nature of their relationship,
  and Husbands often uncompromising and sometimes hostile temperament with
  regard to Wife, her family members, his former attorneys, and contractors. 
On
  August 9, 2006, the family court issued a final order (1) granting the parties
  a divorce on the ground of one years continuous separation, (2) approving the
  parties stipulated division of personal property, (3) finding Husband had
  greater fault in the breakup of the marriage, (4) directing Husband to pay Wife
  $350 per month in alimony, (5) granting the parties house in Saluda to Wife
  and the parties house in North Augusta to Husband, (6) denying Husbands
  request for sweat equity in both houses, (7) finding Wife has no responsibility
  for any of the tax penalties the Husband incurred due to an early withdrawal of
  his savings, and (8) ordering Husband to contribute $5,000 to Wifes attorneys
  fees. &nbsp;Husband appeals.
STANDARD OF REVIEW
In appeals from the family court, this court has jurisdiction to
  find the facts in accordance with its view of the preponderance of the
  evidence.&nbsp; Rutherford v. Rutherford, 307 S.C. 199, 204, 414
  S.E.2d 157, 160 (1992).&nbsp; However, this broad scope of review does not
  require us to disregard the findings of the family court.&nbsp; Stevenson v.
    Stevenson, 276 S.C. 475, 477, 279 S.E.2d 616, 617 (1981).&nbsp; We are
  mindful that the family court, which saw and heard the witnesses, was in a
  better position to evaluate their credibility and assign comparative weight to
  their testimony.&nbsp; Bowers v. Bowers, 349 S.C. 85, 91, 561 S.E.2d
  610, 613 (Ct. App. 2002).&nbsp; Our broad scope of review also does not relieve appellant
  of his burden to convince this court the family court committed error.&nbsp; Skinner
    v. King, 272 S.C. 520, 522-23, 252 S.E.2d 891, 892 (1979).
LAW/ANALYSIS
I. Alimony
Husband
  claims the family courts grant of permanent, periodic alimony and the amount
  awarded constitute an abuse of discretion. &nbsp;More specifically, Husband
  argues that Wife can earn enough to support herself, the family courts final
  award of alimony was based upon the award of pendente lite alimony at the
  temporary hearing, and the family courts finding that he was more responsible
  for the breakup of the marriage erroneously contributed to the decision to
  award alimony. We find no merit in these arguments.
An award of alimony rests within the sound discretion of the
  family court and will not be disturbed absent an abuse of discretion.&nbsp; Allen v. Allen, 347 S.C. 177,
  183-84, 554 S.E.2d 421, 424 (Ct.
  App. 2001).&nbsp; Alimony is a substitute for the support which is normally
  incident to the marital relationship.&nbsp; Johnson v. Johnson, 296 S.C.
  289, 300, 372 S.E.2d 107, 113
  (Ct. App. 1988).&nbsp; The amount
  of alimony is also within the sound discretion of the family court and should
  not be disturbed on appeal unless an abuse of discretion is shown. Smith v.
    Smith, 264 S.C. 624, 628, 216 S.E.2d 541, 543 (1975). An abuse of
  discretion occurs either when a court is controlled by an error of law or when
  the order, based upon findings of fact, lacks evidentiary support. Townsend
    v. Townsend, 356 S.C. 70, 73, 587 S.E.2d 118, 119 (Ct. App. 2003).&nbsp; If a
  claim for alimony is well founded, it is the duty of the family court to make
  an alimony award that is fit, equitable, and just.&nbsp; Allen, 347 S.C. at 184,
  554 S.E.2d at 424. 
&nbsp;Factors to be considered in making an alimony award
  include:&nbsp;(1) duration of the marriage; (2) physical and emotional health
  of the parties; (3) educational background of the parties; (4) employment
  history and earning potential of the parties; (5) standard of living during the
  marriage; (6) current and reasonably anticipated earnings of the parties; (7) current
  and reasonably anticipated expenses of the parties; (8) marital and non-marital
  properties of the parties; (9) custody of children; (10) marital misconduct or
  fault; (11) tax consequences; (12) prior support obligations; and (13) other
  factors the court considers relevant. S.C. Code Ann. § 20-3-130(C) (Supp. 2006).&nbsp; 
A. Wifes Income
The
  record reflects that the family court properly considered the statutory factors
  of Section 20-3-130(C) of the South Carolina Code (Supp.
  2006), including the parties age, health, retirement status, duration
  of the marriage, fault in the breakup of the marriage, and substantial
  difference in monthly income before awarding alimony in the amount of $350 per
  month to Wife. &nbsp;In its order the family court
  calculated Husbands and Wifes gross monthly income using the figures
  each party supplied on their 2006 financial statements.&nbsp; The family court noted
  that Wife receives $608 per month from her pension, $1,413.50 per month from
  Social Security, and $72 per month from her investments, resulting in a total
  monthly income of $1,823.50.&nbsp; Husband receives $1,423 per month from his
  pension and $1,160 per month from Social Security resulting in a total monthly
  income of $2,583, which is $760 more than Wife receives each month.&nbsp; 
Husbands
  argument that Wife can earn enough to support herself fails to illustrate how
  the family courts award of alimony was based upon an error of law or a lack of
  evidence.&nbsp; We find no abuse of discretion in the family courts award of
  alimony.
B. Previous Award of Alimony
Husbands
  second argument that the family courts final award of alimony was based upon
  the award of pendente lite alimony at the temporary hearing also fails.&nbsp; The
  temporary hearing in which Wife was awarded pendente lite alimony in the amount
  of $400 per month occurred over two years prior to the final hearing.&nbsp; In
  addition, different judges presided over the temporary hearing and the final
  divorce hearing.[2]&nbsp;
  When a dispute arose during the final hearing regarding both parties failure
  to follow the exact directions of the temporary order, the family court
  remarked that its decisions would not be impacted by another judges long-ago
  ruling on this matter and it could not go back and undo what was done or was
  not done.&nbsp; The family court directly addressed and dispelled the idea at the
  core of Husbands argument that the alimony award was fashioned due to a prior
  award of pendente lite alimony.
C. Husbands Greater Fault
Husbands
  final argument that the family court improperly considered the parties fault
  in the breakup of the marriage also fails.&nbsp; Section 20-3-130(C)(10) of the South Carolina Code (Supp. 2006) states that marital fault
  is a proper factor to be considered in the decision to award alimony.&nbsp; 
II. Equitable Distribution of Marital Estate
Husband
  claims the family court did not effect an equitable division of the marital
  estate. &nbsp;More accurately, Husband argues the family court erred in not
  allocating to Wife part of the nearly $43,000 tax debt incurred by Husband. &nbsp;Husband
  also argues the family courts finding that Husband is not entitled to sweat
  equity in the parties two houses affected the equitable division of the
  marital estate. &nbsp;We agree with Husbands assertion that the marital
  estate was not equitably divided, but disagree with Husbands contention that
  the family court erred in denying him sweat equity.
A. Tax Debt
Husband
  incurred tax debt in the summer of 2003 when he withdrew money from his IRA but
  did not file a tax return within the appropriate time. &nbsp;Husband stated he
  withdrew the money from the IRA because he was not receiving much interest. &nbsp;Wife
  first learned of Husbands actions when he returned home and told her I cussed
  [the financial advisor] out and took my money out. Neither party knew Husband
  incurred tax liability due to his hasty actions until February 2004. Despite
  being separated, Wife agreed to file a joint tax return which decreased
  Husbands tax penalty to $43,000. &nbsp;The IRS issued a tax refund in
  response to the parties joint filing, but Wife did not receive any portion of
  the refund. &nbsp;
We
  initially note that neither party nor the family court asserts the tax debt is
  non-marital property. &nbsp;Instead, the family court simply apportioned the
  tax debt to Husband in the division of the marital estate.&nbsp; 
The apportionment of marital property will not be disturbed on
  appeal absent an abuse of discretion. Bungener v. Bungener, 291 S.C.
  247, 251-52, 353 S.E.2d 147, 150 (Ct. App. 1987).&nbsp; Section 20-7-472 of the South Carolina Code (Supp.
  2006) lists fifteen factors for the court to consider in equitably apportioning
  a marital estate. On appeal, this court looks to the overall fairness of the
  apportionment. Johnson v. Johnson, 296 S.C. 289, 300, 372 S.E.2d 107,
  113 (Ct. App. 1988).&nbsp; If the end result is equitable, it is irrelevant that the
  appellate court would have arrived at a different apportionment. Id.
Here, the
  family court considered the parties (1) stipulation as to the division of
  marital property, (2) two houses, (3) savings and investment plans, and (4)
  monthly income, as well as (5) the length of the marriage, (6) Husbands
  greater fault in the breakup of the marriage, (7) and the alimony award to
  Wife. &nbsp;Our review of the record convinces us the family court addressed
  factors under the statute governing apportionment with sufficiency to
  indicate the family court was cognizant of those factors. &nbsp;However, we find the
  overall distribution of sixty-three percent of the marital estate to Wife and
  thirty-seven percent of the marital estate to Husband is not equitable for a
  marriage that lasted twenty-one years. See Smith v. Smith, 294
  S.C. 194, 363 S.E.2d 404 (Ct. App. 1987) (preserving a fifty-fifty
  apportionment of the marital estate in an eighteen year marriage); Griffith
    v. Griffith, 332 S.C. 630, 506 S.E.2d 526 (Ct. App. 1998) (approving a
  fifty-fifty division of marital property in a marriage of twelve years).&nbsp; Given
  the trend in case law for an equal apportionment of property in a long-term
  marriage, we modify the family courts apportionment of the marital estate by
  awarding Husband forty-five percent of the marital estate and Wife fifty-five
  percent of the marital estate. 
B. Sweat Equity
Husband
  fails to specifically appeal the fact that the family court erred in not
  granting him sweat equity but addresses it in a circumjacent manner claiming
  the absence of such an award affected the equitable division of the marital
  estate. &nbsp;We find no merit in this argument.&nbsp; 
The
  family court heard extensive testimony regarding Husbands work on the parties
  houses and even divulged its awareness of the skill and labor required to
  perform the alterations Husband made to the houses.&nbsp; Nevertheless, the family
  court properly found that Husband did not present the proof needed for the
  family court to find the Husbands actions merited any special equity in the
  houses. &nbsp;See Arnal v. Arnal, 363
  S.C. 268, 294-95, 609 S.E.2d 821,
  835 (Ct. App. 2005) (finding a husband failed to prove his labor made material
  contributions warranting special equity since the husband presented no
  testimony concerning any appreciation in value).&nbsp; The family court also
  noted that both parties contributed different forms of sweat equity throughout
  the twenty-one year marriage and it would be impossible for the family court to
  measure the value of all those contributions. &nbsp;&nbsp;
III. Attorneys Fees
Husband
  claims the family court abused its discretion in awarding attorneys fees to
  Wife. &nbsp;Specifically, Husband argues that once he withdrew his request
  for attorneys fees, the family court should have either abandoned the notion
  of awarding attorneys fees or abandoned the parties settlement proposals[3] and awarded attorneys fees based on what occurred at the final hearing. &nbsp;Husband
  also argues the family court used its award of alimony as a factor in
  determining Husband should contribute to Wifes attorneys fees. We disagree.
Whether
  to award attorneys fees is a matter within the sound discretion of the family
  court, and the award will not be reversed on appeal absent an abuse of
  discretion.&nbsp; Bakala v. Bakala, 352 S.C. 612, 633-34, 576 S.E.2d
  156, 167 (2003).&nbsp; In determining whether an award of attorneys fees
  should be granted, the family court should consider the following:&nbsp;each
  partys ability to pay their own fee, the beneficial results obtained by
  counsel, the financial conditions of the parties, and the effect of the fee on
  each partys standard of living.&nbsp; E.D.M. v. T.A.M., 307 S.C. 471,
  476-77, 415 S.E.2d 812, 816 (1992).&nbsp; To determine the amount of attorneys
  fees to award, the family court should consider the nature, extent, and
  difficulty of the services rendered; the time necessarily devoted to the case;
  counsels professional standing; the contingency of compensation; the
  beneficial results obtained; and the customary legal fees for similar
  services.&nbsp; Glasscock v. Glasscock, 304 S.C. 158, 161, 403 S.E.2d
  313, 315 (1991).
We
  find no abuse of discretion in the award of attorneys fees.&nbsp; The family court adequately
  considered the factors set forth in Glasscock when awarding attorneys
  fees to Wife.&nbsp; There is no indication alimony was a factor in the attorneys
  fees.&nbsp; Further, Wife obtained a beneficial result that was appropriately
  considered by the family court.&nbsp; 
CONCLUSION
We affirm the
  ruling of the family court in regard to the award of alimony, the refusal to
  award sweat equity, and the award of attorneys fees.&nbsp; We reverse and remand to
  the family court for re-allocation of the marital estate in accordance with
  this opinion.
AFFIRMED IN PART, REVERSED
  IN PART AND REMANDED.
ANDERSON and THOMAS, JJ.,
  and CURETON, A.J., concur.


[1] We decide this case without oral argument
  pursuant to Rule 215, SCACR.
[2] The Honorable Peter R. Nuessle conducted the
  temporary hearing and issued the temporary order. The Honorable Henry T. Woods
  conducted the final divorce proceeding and issued the final order which Husband
  now appeals. Husband does not appeal the temporary order.
[3] The record on appeal did not contain the parties
  pre-hearing settlement proposals.&nbsp; From the Husbands argument and the family
  courts reference to its review of the settlement proposals, this court can
  infer that the settlement proposals of both parties may have discussed awarding
  attorneys fees. 

